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                                                                 2015 Oct-13 PM 04:15
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA
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       7001 St Andrews Road, #361 "'Columbia, SC 29212 • •

       April 26,2010




       Ibrahim Sabboh ond
       Sabboh Brothers Enterprises Inc.
       PO Box 36661
       Hoover. AL 35236.




       OUR INSUReD: Sabbah Brothers Enterprises Inc DBA: 14th Street BP
       OUR CLAIM NUMBER: 77 01 PR 357796 05022007 51
       DATE Of LOSS: 05-Q2-2007

        RE;  Plaintiffs: Tisha Owens and Bobby Waldrop, Sharon Robertson, Susan Green et al.
       vs Sabboh Brothers Enterprises, Inc. Ibrahim Sobbah, et al


                                          RESERVATION OF RIGHTS

                           SENI CERTIFIED MAIL RETURN RECEIPT REQUESTED


       Dear Mr Sabbah and Sabbah Brothers enterprises.

       We have previously sent you similar letters in your capacity as principal of Sabbah
       Brothers Enterprises, as well as you. personally, relative to being named defendants in the
       several lawsuits filed .in relation to an auto accident which occurred on May 2 . 2007. It is
       my understanding that one or more amended complaints have now been filed against
       the same defendants, containing essesially the same allegations as to the improper sale
       of alcohol to a minor and or allowing alcoholic beverages to come in to the hands of a
       minor.

       Nationwide Mutual Fire Insurance Company ("Nationwide") has examined the claims
       made against you by the above·referenced claimant. Nationwide has reviewed the
       relevant information, including the Nationwide policy numbers. 77 PR 762940M3007 and 77
       BO 76294()..3001 (the "policies"). Based on this review, Nationwide has determined that
       the claim presented by this claimant may not be covered under the policies. This letter
       explains the basis for this determination.

       In order to explain the coverage Issues, Nationwide must discuss the claimant's
       allegations. Nationwide understands that these allegations are unproven facts and may
       be untrue, Incomplete or embellished, and Nationwide does not conclude that any
       allegation is true. No statement in this letter should be construed othe!Wise.
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       FACTUAL SUMMARY

       These cases are a result of on auto accident that occurred on 5/2/07 on Eastern Valley
       Rd. at the Jefferson County line. This was a single vehicle occident involving the driver
       Brittany Coffee and three passengers, Drew Robertson, Michael Waldrop, and Jennifer
       Vickery. Brittany was charged with driving under the influence of an alcoholic beverage.
       The plaintiff's allege that Brittany purchased at least one alcoholic beverage at 600 14th
       Street In Bessemer AL., that she Is underage, and that this illegal sale of alcohol forms the
       basis for !lability against Sabbah 8rothers Enterprises Inc. (SBE)

       It is our understanding that SBE does own the properly at 600 14th Street, but does not
       operate the business that is run at this location. That business is operated by Nineteenth
       Street Investments Inc. (NSI), who also holds the liquor license for thot location. It is our
       understanding that lbarhim Sabbah as been named, individually, relative to his
       ownership interest in an inCO(porated business.

       While we argue that SBE did not and could not hove furnished any alcoholic beverages
       to Brittany Caffee because SBE does not operate the business that would have done so,
       this Is on issue that will ultimately be determined by a court of law. The applicable policy
       exclusions will depend on the ultimate finding.

      The complaints served on you allege the following causes of action:

      Waldrop and Robertson:
      "       Count II: Defendants furnished or sold alcoholic, Intoxicating beverages to
      Defendant Caffee in violation of Alabama laws and regulations, including ALA Code 6-5-
      70 and 6-5-71. and ABC Board regulations, by unlawfully selling or furnishing alcoholic
      beverages or spirituous liquors to Caffee, who is less than 21 years of age, while having
      knowledge of said minority or being chargeable with knowledge of such minority, and
      by further furnishing alcoholic beverages to a person who appeared to be intoxicated.

      Vickery:
      •      Count Ill: Mode pursuant to Code of Alabama Sections 6-5-70 through 6-5-72.
      Alleges that SBE "sold, gave or otherwise disposed alcoholic beverages contrary to
      Alabama law to Brittany Coffee and Jennifer Vickery, minors, causing them to become
      under the influence of alcohol and/or physically int<)Xicated ... ".
      •      Count IV: SBE negligently hired, trained, supervised, and monitored their
      employee(s), who in turn violated Code of Alabama Sections 6-5-70 through frfr72.



       COVERAGE SUMMARY

       Alleged Date of Loss:          5/2/07
       Applicable Policy Period(s):   4/5/07 to 4/5/08

      Nationwide's analysis of coverage is limited to these policies. If you are aware of any
      other Nationwide policies that may afford coverage for this matter. please inform
      Nationwide Immediately.




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       The coverage issues related to each cause of action against you include. but are not
       limited to:
       "       The business owners liability coverage form excludes coverage for liquor tiabiiHy,
       and the liquor liability coverage form excludes coverage when there is no liquor license
       in effect. SSE did not have a liquor license in effect when this loss occurred.

       The following excerpts from your coverage form will help to explain the coverage issues.
       Please refer to a copy of your policy forms for a full explanation.



       COVERAGE FORM EXCERPTS- CAS6345 (07 /05) Buslnessowners Liability Coverage Form

       .. Various provisions in this policy restrict coverage. Read the entire policy carefully to
       determine rights. duties and what is and Is not covered.
       "' Throughout this policy the words "you" and ''your" refer to the Named Insured shown in
       the Declarations.
       "' The words "we", "us" and "our" refer to the Company providing this insurance.
       * The word 'Insured" means any person or organization qualifying as such under Section
       C Who Is An Insured.
       • Other words and phrases that appear in quotation marks have special meaning. Refer
       to Section IF Liability And Medical Expenses Definitions.

       A.     Coverages

       l.     Business Liability

       o.       We will pay those sums that the insured becomes legally obligated to pay as
       damages because of "bodily Injury'', "property damage", "personal Injury" or "advertising
       injury" to which this insurance applies. We will have the right and duty to defend the
       insured against any "suit" seeking those damages. However, we will hove no duty to
       defend the insured against any suif' seeking damages for "bodily injury". property
       damage", "personal injury", or advertising injury'' to which this insurance does not apply.
       We may at our discretion, investigate any "occurrence'' and settle any claim or "suit" that
       may result. But:
       (l)      The amount we will pay for damages is limited as described in Section D. Liability
       And Medical Expenses Limits Of Insurance; and
       (2)      Our right and duty to defend end when we have used up the applicable limit of
       insurance in the payment of judgments or settlements or medical expenses.
       No other obligation or liability to pay sums or perform acts or services is covered unless
       explicitly provided for under Coverage Extension Supplementary Payments.

       b.     This insurance applies:

       (ll    To "bodily injury" and "property damage'' only if:
       (a)    The "bodily injury" or ''property damage" is caused by an "occurrence' that takes
       place in the "coverage territory"; and
       {b)    The "bodily injury'' or "property damage" occurs during the policy period.

       (2)     To:
       (a)     "Personal injury" caused by on offense arising out of your business. excluding
       advertising, publishing, broadcasting or telecasting done by or tor you;



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       (b)    "Advertising injury" caused by an offense committed in the course of advertising
       your goods, products or services:
       but only if the offense was committed in the "coverage territory" during the policy period.

       c.       Damages because of 'bodily injury" include damages claimed by any person or
       organization for care. loss of services or death resulting at any time from the "bodily
       Injury".

      d.       Coverage Extension Supplementary Payments
      In addition to the Limit of Insurance we will pay, with respect to any claim we investigate
      or settle, or any "suit" against an insured we defend:
       (1)     All expenses we incur,
      (2)      Up to $250 for cost of bail bonds required because of accidents or traffic law
      violations arising out of the use of any vehicle to which Business liability Coverage for
      "bodily Injury" applies. We do not have to furnish these bonds.
      (3)      The cost of bonds to release attachments, but only for bond amounts within our
      Limit of Insurance. We do not have to furnish these bonds.
       (4)     All reasonable expenses incurred by the insured at our request to assist us in the
      investigation or defense of the claim or "suit", including actual loss of earnings up to $250
      a doy because of time off from work.
       (5}     All costs taxed against the insured In the "suit".
      (6)      Prejudgment interest awarded against the insured on that part of the judgment
      we pay. If we make on offer to pay the Limit of Insurance, we will not pay any
      prejudgment interest based on that period of time after the offer.
      (7)      All interest on the full amount of any judgment that accrues after entry of the
      judgment and before we have paid, offered to pay, or deposited in court the part of the
      judgment that Is within our Limit of Insurance.

       If we defend an Insured against a ''suit" and an indemnitee of the Insured is also named
      as a party to the "suif', we will defend that indemnitee if all ot the following conditions are
      met:
      a.       The ''suit" against the indemnitee seeks damages for which the insured has
      assumed the liabili1y of the indemnitee in a contract or agreement that is an "insured
      contract";
      b.       This insurance applies to such liability assumed by the insured;
      c.       The obligation to defend, or the cost of the defense of, that indemnitee, has also
      been assumed by the Insured in the same "insured contract";
      d.       The allegations in the "suit" and the information we know about the "occurrence"
      ore such that no conflict appears to exist between the interests of the insured and the
      interests of the indemnitee:
      e.       ihe indemnitee and the Insured ask us to conduct and control the defense of
      that indemnitee against such "suit" and agree that we can assign the same counsel to
      defend the insured and the indemnitee; and
      f.       The indemnitee:
      {1)      Agrees in writing to;
       {a)     Cooperate with us in the investigation, settlement or defense of the "suit";
      (b)      Immediately send us copies of any demands, notices, summonses or legal papers
      received in connection with the "suit";
       lc}     Notify any other insurer whose coverage is available to the indemnitee; and
       (d)     Cooperate with us with respect to coordinating other applicable insurance
      available to the indemnitee: and
      (2)      Provides us with written authorization to:



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       (a)     Obtain records and other information related to the ''suit"; and
       (b)     Conduct and control the defense of the indemnitee in such "suit".
       So long os the above conditions are met, attorneys' fees incurred by us in the defense of
       that indemnitee, necessary litigation expenses incurred by us and necessary litigation
       expenses incurred by the indemnitee at our request wlll be paid as Supplementary
       Payments. Notwithstanding the provisions of Paragraph B.l.b.(2) of Exclusions, such
       payments will not be deemed to be damages for "bodily injury" and "property damage"
       and will not reduce the limits of insurance.

       our obligation 1o defend on insured's indemnitee and to pay for attorneys' fees and
       necessary litigation expenses as Supplementary Payments ends when:
       a.       We have used up the applicable limit of insurance in the payment of judgments
       or settlements; or
       b.       The conditions set forth above, or the terms of the agreement described in
       Paragraph f. above are no longer met.

       2.     Medical Expenses

       a.     We will pay medical expenses as described below for "bodily injury" caused by an
       accident:
       ( l}   On premises you own or rent;
       (2)    On ways next to premises you own or rent; or
       (3)    Because of your operations;
       provided that:
       {a)    The occident tokes place in the ''coverage territory" and during the policy period;
       (b)    The expenses are incurred and reported to us within one year of the date of the
       occident; and
       {c)    The injured person submits to examination, at our expense, by physicians of our
       choice as often as we reasonably require.

      b.     We will make these payments regardless of fault. These payments will not exceed
      the Limit of Insurance. We will pay reasonable expenses for:
      {1)    First aid administered at the time of an accident;
      (2)    Necessary medical, surgical, xray and dental services. including prosthetic
      devices; and
      (3)    Necessary ambulance. hospital. professional nursing and funeral services.

       B.     Exclusions

       l.     Applicable To Business Liability Coverage

      This Insurance does not apply to:
      c.       Liquor Liability
      "Bodily injury" or "property damage'' for which any insured may be held liable by reason
      of:
      ( 1J     Causing or contributing to the intoxication of any person;
      (2)      The furnishing of alcoholic beverages to a person under the legal drinking age or
      under the influence of alcohol; or
      (3)      Any statute, ordinance or regulation relating to the sale, gift, distribution or use of
      alcoholic beverages.




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       This exclusion applies only if you are in the business of manufacturing, distributing, selling,
       serving or furnishing alcoholic beverages.


       COVERAGE fORM EXCERPTS- CG0033 ( 12/04) liquor Liability Coverage Form

       *  Various provisions in this policy restrict coverage. Read the entire policy carefvlly to
       determine rights,
       duties and what Is and is not covered.
       "' ThroughotJt this policy the words "you" and "your" refer to the Named Insured shown in
       the Declarations, and any other person or organization qualifying as a Named Insured
       under this policy. The words "we", us" and "our'' refer to the Company providing this
       insurance. The word "insured" means any person or organization qualifying as such under
       Section U- Who Is An Insured.
       .. Other words and phrases that appear in quotation marks have special meaning. Refer
       to Section Y- Definitions.

       SECTION I -LIQUOR LIABILITY COVERAGE

       1. Insuring Agreement

      a. We will pay those sums that the insured becomes legally obligated to pay as
      damages because of "injury" to which this insurance applies if liability for such "Injury'' is
      imposed on the insured by reason of the selling, serving or furnishing of any alcoholic
      beverage. We will have the right and duty to defend the insured against any "suit"
      seeking those damages. However, we wiU have no duty to defend the insured against
      any "suit" seeking damages for "injury" to which this insurance does not apply. We may,
      at our discretion, investigate any "injury" and settle any claim or "suit" that may result. But:
       ( 1) The amount we will pay for damages is limited as described In Section Ill - Limits Of
      Insurance; and
      {2) Our right and duty to defend ends when we have used up the applicable limit of
      insurance In the payment of judgments or settlements. No other obligation or liability to
      pay sums or perform acts or services is covered unless explicitly provided for under
      Supplementary Payments.

      b. This insurance applies to ''injury" only if:
      ( l J The "injury" occurs during the policy period in the "coverage territory"; and
      (2) Prior to the policy period, no insured listed under Paragraph l . of Section II- Who Is An
      Insured and no "employee" authorized by you to give or receive notice of an "injury'' or
      claim, knew that the "injury" had occurred, in whole or ln part. If such a listed insured or
      authorized "employee" knew, prior to the policy period, that the "injury" occurred, then
      any continuation, change or resumption of such "Injury" during or after the policy period
      will be deemed to hove been known prior to the policy period.

      c. "Injury" which occurs during the policy period and was not prior to the policy period,
      known to have occurred by any Insured listed under Paragraph 1. of Section II - Who Is
      An Insured or any "employee" authorized by you to give or receive notice of an "Injury" or
      claim, includes any continuation, change or resumption of that "injury" after the end of
      the policy period.

      d. "Injury" will be deemed to have been known to hove occurred at the earliest time
      when any insured



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       listed under Paragraph 1. of Section 11- Who Is An Insured or any "employee" authorized
       by you to give or receive notice of an "injury" or claim:
       (1) Reports all, or any part, of the "injury" to us or any other insurer;
       {2) Receives a written or verbal demand or claim for damages because of the "injury"; or
       (3) Becomes aware by any other means that '1njury" has occurred or has begun to occur.

       2. Exclusions

       This insurance does not apply to:

       d. Liquor License Not In Effect
       "InJury" arising out of any alcoholic beverage sold, served or furnished while any required
       license is not in effect.


       CONCLUSION

       Based on these coverage exclusions and conditions it is the Intent of Nationwide to
       conduct their investigation ond any defense under a tun and complete reservation of
       rights and coverage defenses.

       Nothing in this letter should be deemed a waiver of the terms or conditions of the
       Nationwide policies. Nationwide expressly reserves the right to rely upon ony term or
       condition of the policies or any other basis that moy be found to limit or preclude
       coverage. whether those terms or conditions are discussed in this letter or not.

       Nationwide will also reconsider its position in light of any additional information you may
       hove or any analysis you may wish to present that. in your opinion. shows that a
       reservotion of rights should not apply to this claim. If you wish us to re-examine this matter
       on that basis, please write to the undersigned representative. setting out any such
       additional information or analysis. If such additional information is included in documents
       that have not already been supplied to Nationwide, please enclose copies of those
       documents.

      We will need your full cooperation as provided in the policies. Because this claim against
      you has gone to suit, It would be in your best interest to not have your employees,
      officers, directors, etc. discuss the case with anyone except a representative of
      Nationwide. an attorney retained by Nationwide should an attorney be retained by
      Nationwide. or with your personal attorney.

      Sincere)'//

       ?7-----··
      Nationwide Mutual Fire Insurance Company
      Kevin Paschall
      803-315-9666
      poschak@nationwide.com


       cc:
       Pat Donalson (vio ema~)
       Kori Clement (via email)



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